       Case 4:21-cv-00251-RCC Document 7 Filed 08/11/21 Page 1 of 2



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 8   Attorneys for Plaintiff Center for Biological Diversity

 9                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ARIZONA
10
                                    TUCSON DIVISION
11
     Center for Biological Diversity,
12                                                       Case No. CV-21-251-TUC-RCC
13                  Plaintiff,

14          v.                                           NOTICE OF VOLUNTARY
                                                         DISMISSAL
15
     U.S. Fish and Wildlife Service, et al.,
16
                    Defendants.
17
18
19          Plaintiff Center for Biological Diversity filed the Complaint in this case on June 23,
20   2021. Plaintiff alleged one claim, that Defendants failed to make 12-month findings for seven
21   foreign wildlife species, as required by the ESA. 16 U.S.C. § 1533(b); Compl. ¶¶ 119–120, ECF
22   No. 1. On August 9, 2021, Defendants issued 12-month findings for the seven foreign species
23   addressed in the Complaint. 86 Fed. Reg. 43,470 (Aug. 9, 2021). Defendants have not served an
24   answer or a motion for summary judgment in this case.
25          Therefore, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff hereby
26   provides notice of voluntary dismissal of the above-captioned case without prejudice. FED. R.
27   CIV. P. 41(a)(1)(A)(i), (B).
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       Case 4:21-cv-00251-RCC Document 7 Filed 08/11/21 Page 2 of 2



 1   DATED this 11th day of August, 2021.       Respectfully submitted,
 2
                                                /s/ Sarah Uhlemann
 3
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